          Case 1:15-cv-01408-NBF Document 5 Filed 01/15/16 Page 1 of 2
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                                     No. l5-1408C
                               (Filed: January 15, 2016)                  JAN   |   5   2016

                           ***NOT FOR PUBLICATION***                     U.S. COURT OF
                                                                        FEDERAL CIAIMS


GLEN EDWARD MAHONEY,
                                                   Pro Se; Sua Sponte Dismissal; Lack          of
                   Pro Se Plaintiff,               Subiect-Matter Jurisdiction




THE LNITED STATES,

                      Defendant.




                                ORDER OF DISMISSAL

        Pro se plaintiff Glen Edward Mahoney has filed the instant complaint alleging
,,gross Violations of infants human rights, Personal Injury, Intemational Human Rights
Law, Serious Violations of Intemational Humanitarian Law, Fraud on Binh Certificate-
cancelation ofadverse contract and claim in recoupment (Reparations)." Compl. at l.
Mr. Mahoney seeks to recover "the property represented in the Birth Certificate
warehouse receipt. Id. Plaintiffpurports to bring this case under the the Racketeer
Influenced and Corrupt Organizations Act (RICO), 18 U.S'C' $ 1961 et' seq', and the
First Amendment. Id. at 2.

         Under Rule of the Court of Federal Claims l2(h)(3), the court must dismiss a
 complaint if it.,determines at any time that it lacks subject-matter jurisdiction." It is
well-settled that plaintiffs have the burden of establishing the court's subject matter
jurisdiction
"Slq!9$       by a preponderance ofthe evidence. See. e.g., Estes Express l-i4es v. -United
         zlS Fid 689, 692 (Fed. Cir.2014) (citing Reynolds v. Army & Air Force Exch'
 Serv., 846 F.2d746,748 (Fed. Cir. 1988)). Although pro se plaintiffs are held to less
 stringent pleading standards, they must still demonstrate that the court has jurisdiction to
 heariheiiclaim. See Matthews v. United States, 750 F.3d 1320, 1322 (Fed. Cir. 2014)
 (citation omitted); Mora v. United States, I 18 Fed. Cl. 713,715 (2014) (citation omitted).
          Case 1:15-cv-01408-NBF Document 5 Filed 01/15/16 Page 2 of 2




        The Tucker Act, 28 U.S.C. $ 1491, grants this court 'Jurisdiction to render
judgment upon any claim against the United States founded either upon the Constitution,
 or any Act of Congress or any regulation ofan executive department, or upon any express
 or implied contract with the United States, or for liquidated or unliquidated damages in
 cases not sounding in tort." 28 U.S.C. $ 1a91(a)(1). However, the Tucker Act does not
 create substantive rights and only waives sovereign immunity for claims premised on
 other sources oflaw that "can fairly be interpreted as mandating compensation by the
 Federal Government for the damages sustained." Jan's Helicopter Serv.. Inc. v. FAA,
 525 F.3d 1299,1306 (Fed. cir. 2008) (quoting United States v. Mitchell, 463 u.s. 206,
 2t6-17 (1e83)).

        In this case, the plaintiff has failed to state a claim under a money-mandating
statute or constitutional provisions. The Federal Circuit has found that the United States
is not liable for damages under RICO's civil provisions. Wolf v. United States, 127 F -
App'x 499, 501 (Fed. Cir. 2005). Nor can Mr. Mahoney bring a claim under RICO's
criminal provisions because the court of Federal claims "'has no jurisdiction to
adjudicate any claims whatsoever under the federal criminal code."' Taylor v' United
States, 616 r. app'x 423, 424 (Fed. cir. 2015) (quoting Joshua v. united Statgs, l7 F.3d
 llg,lls (Fed. cir. 1994)). Further, it is well established that the First Amendment is not
money-mandating. Cabral v. United States,3lT F. App'x979,981 (Fed' Cir' 2008)
                                                            (Fed. cir. 1995); United States v.
lciting LeBlanc v. united states, 50 F.3d 1025, 1028
Connolly, 7 16 F .2d 882, 886-87 (Fed. Cir. 1983).

        Consequently, even under the less stringent pleading standards applicable to pro se
litigants, Mr. Mahoney has failed to establish jurisdiction. See Wilson v. United States'
+Oif. epp'x 499, 500 (Fed. Cir. 2010) (["L]enient pleading standards cannot forgive a
failure to itate a claim that falls within the court's jurisdiction." (citing Henke v. United
Srates, 60 F.3d 795, 799 (Fed. Cir. 1995)). Plaintiff s complaint is therefore
OISfUlSSnn.' The Clerk is directed to enter judgment accordingly. No costs.


       IT IS SO ORDERED.




 I Plaintiff s motion to file in forma pauperis is DENIED AS MOOT'
